
PER CURIAM.
We have for review Dodson v. State, 710 So.2d 159 (Fla. 1st DCA 1998), wherein the First District certified the following question to be one of great public importance:
WHETHER THE WRONGFUL IMPOSITION OF A PUBLIC DEFENDER’S LIEN CONSTITUTES FUNDAMENTAL ERROR WHICH MAY BE CHALLENGED ON DIRECT APPEAL WITHOUT HAVING BEEN *146PRESENTED TO THE TRIAL COURT, IN LIGHT OF SECTION 924.051(3), FLORIDA STATUTES (SUPP.1996), AND AMENDED RULE 3.800(B), FLORIDA RULES OF CRIMINAL PROCEDURE.
For the reasons expressed in our opinion in Maddox v. State, 760 So.2d 89 (Fla.2000), we answer the certified question in the negative. We quash the decision below and find that the unpreserved sentencing errors asserted in this case do not constitute fundamental error.
It is so ordered.
HARDING, C.J., and SHAW, WELLS, ANSTEAD, PARIENTE, LEWIS and QUINCE, JJ., concur.
